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                   18                              UNITED STATES DISTRICT COURT

                   19                           NORTHERN DISTRICT OF CALIFORNIA
                   20                                   SAN FRANCISCO DIVISION
                   21   RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   22      Individual and Representative Plaintiffs,    ADMINISTRATIVE MOTION TO FILE UNDER
                                                                        SEAL PORTIONS OF SUPPLEMENTAL JOINT
                   23          v.                                       LETTER BRIEF AND SUPPORTING
                                                                        EVIDENCE
                   24   META PLATFORMS, INC., a Delaware
                        corporation;
                   25
                                                        Defendant.
                   26

                   27

                   28
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                                                                                            ADMIN. MOTION TO SEAL
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                    1          Pursuant to Civil Local Rule 79-5, Defendant Meta Platforms, Inc. (“Meta”) moves this

                    2   Court for an Order allowing Meta to file under seal a confidential, unredacted version of the parties’

                    3   Supplemental Joint Letter Brief concerning Meta’s response to Plaintiffs’ Requests for Production

                    4   No. 118 (“Joint Letter Brief”) and supporting evidence submitted with the Joint Letter Brief. Meta

                    5   respectfully submits that good cause exists for the filing of these materials under seal. The motion

                    6   is based on the following Memorandum of Points and Authorities and the Declaration of Kyanna

                    7   Sabanoglu in support of this Administrative Motion to File Under Seal.

                    8          The following chart lists the documents for which Meta requests sealing – in whole or in

                    9   part – in order to protect Meta’s confidential business information.

                   10
                         Document                                                          Sealing Request
                   11
                         Joint Letter Brief                                                        Redacted portions
                   12
                         Exhibit A to Joint Letter Brief                                           Entire document
                   13
                         Exhibit B to Joint Letter Brief                                           Entire document
                   14
                         Exhibit C to Joint Letter Brief                                           Redacted portions
                   15

                   16   A [Proposed] Order is filed concurrently herewith, and Meta refers the Court to the Joint Letter
                   17   Brief itself and supporting evidence attached thereto as further support for this Administrative
                   18   Motion.
                   19   I.     LEGAL ARGUMENT
                   20          Though the presumption of public access to judicial proceedings and records is strong, it
                   21   “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (1978). The Ninth Circuit
                   22   treats documents “attached to dispositive motions differently from records [i.e., documents]
                   23   attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180
                   24   (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
                   25   non-dispositive motions, such as the Parties’ Joint Letter Briefs, the “good cause” standard applies.
                   26   OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);
                   27   Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in
                   28   discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the
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                    1   interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-

                    2   05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963

                    3   (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).

                    4            Portions of the Joint Letter Brief and corresponding supporting evidence contain Meta’s

                    5   confidential information, for which Meta requests sealing. Exhibits A and B to the Joint Letter

                    6   Brief are excerpts of the transcripts of the depositions of Meta employees, which have been marked

                    7   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Stipulated Protective

                    8   Order.    These excerpts include discussion of Meta’s highly sensitive internal practices and

                    9   processes relating to the development of its Llama models, including, in particular, the training of

                   10   the models. The redacted portions of the Joint Letter Brief itself refer to and describe this deposition

                   11   testimony and include further discussion of Meta’s highly confidential internal processes relating

                   12   to the training of its Llama models. The redacted portions of Exhibit C to the Joint Letter Brief

                   13   discuss confidential information concerning Meta’s use of certain datasets to train the Llama

                   14   models.

                   15            Meta must request sealing of these materials, as this information is highly confidential, and

                   16   Meta takes steps to carefully protect the confidentiality of information of this sort as disclosure has

                   17   the potential to cause significant competitive injury to Meta. See, e.g., Space Data Corp. v.

                   18   Alphabet Inc., No. 16-CV-03260-BLF, 2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding

                   19   information regarding party’s confidential and proprietary technical information, and sensitive

                   20   financial information sealable). These sealing requests are critical to protect Meta’s confidential

                   21   sensitive technical and competitive information.

                   22            The specific basis for sealing these materials is outlined in the accompanying declaration

                   23   of Meta’s Associate General Counsel, Kyanna Sabanoglu.               As outlined in Ms. Sabanoglu

                   24   declaration, public disclosure of the protected information contained in the materials Meta seeks to

                   25   seal would cause competitive harm to Meta. Meta’s proposed redactions and sealing requests are

                   26   narrowly tailored to include only that information which would cause specific, articulable harm, as

                   27   identified in Ms. Sabanoglu’s declaration. In each instance, the harm to Meta outweighs the

                   28   public’s interest in disclosure. See, e.g., In re iPhone App. Litig., No. 11-md-02250-LHK, 2013
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                    1   WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting motion to seal where the defendant’s

                    2   interest in “maintaining the confidentiality of information about its technology and internal business

                    3   operations” outweighed that of the public in accessing such documents). Accordingly, this sealing

                    4   request is critical to protecting Meta’s confidential sensitive technical and competitive information.

                    5   II.    CONCLUSION
                    6          Pursuant to Civil Local Rule 79-5, as appropriate, redacted and unredacted versions of the

                    7   above-listed document accompany this Administrative Motion. For the foregoing reasons, Meta

                    8   respectfully requests that the Court grant the Administrative Motion to Seal.

                    9

                   10
                        Dated: December 23, 2024                                 COOLEY LLP
                   11

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